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                UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA

JODI C. MAHDAVI,                  )
                                  )
                                  )
                                  )
     vs.                          )
                                  )
NEXTGEAR CAPITAL, INC.            )     CASE NO. 1:14Cv0648
                                  )
                                  )
                Defendants.       )
                                  )

             NEXTGEAR CAPITAL INC.’S ADMITTED EXHIBITS


1) Picture of BMW – J. Mahdavi
2) Trade Name Application, Select Builders – J. Mahdavi
3) Picture of Temple Hills address, Ultimate Auto – J. Mahdavi
4) Maryland Temporary Registration Certificate – J. Mahdavi
5) BOFA Account Activity Transaction Details – J. Mahdavi, Smiley
6) Blank Check from Beltway Auto Brokers – J. Mahdavi, Smiley
7) 8/13/13 Demand Promissory Note between NextGear Capital, Inc. and
Beltway Auto Brokers, LLC – Freeman
8) UCC Financing Statement – Freeman
9) Floored Vehicle History Report for BMW – Freeman
10) NextGear’s Receivable Detail Report for 4/24/14 – Freeman
11) J. Mahdavi’s Deposition
12) J. Mahdavi’s Interrogatories
13) Navid Mahdavi’s Responses to NextGear’s Notice of Deposition
